Case 2:Ol-CV-02503-SH|\/|-tmp Document 633 Filed 07/14/05 Page 1 of 4 Page|D 750

also BY ga D-G-
IN THE UNITED S'I‘ATES DISTRICT COURT
FOR 'I‘HE WESTERN DISTRIC'I‘ OF 'I‘ENNESSEE ;02
WESTERN DIVISION 05 Jm' lb AH"

 

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FEDERAL EXPRESS CORP. , W@ (*!: ` §H§'E%-,!§PH}S

Plaintiff,
V. NO. Ol-2503-MaP
ACCU SOR'I‘ SYSTEMS, INC. ,

Defendant.

 

ORDER GRANTING PERMISSION TO FILE REPLY

 

Before the court is defendant'S July 12, 2005, unopposed
motion to file a reply in further support of defendant's Motion
for Summary Judgment on FedEx's Remaining Trade Secret Claims,
Remaining Breach of Contract Claims, Unjust Enrichment and Breach
of Fiduciary Duty. For good cause shown, the motion is granted
and defendant may file its reply.

It; is 50 oRDERED this IBKday of July, 2005.

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

 

T?vls document entered on the docket she t'| §ompl\ance
with Ru|e 58 and}or 79(3) FHCP on __J_M_QS°

   

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Honorable Samuel Mays
US DISTRICT COURT

